Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 1 of 47 PageID: 1



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

 JEFFREY BARAJAS,                              Case No.

                  Plaintiff,                   JURY TRIAL DEMANDED

 vs.

 SANOFI US SERVICES INC.; SANOFI
 AVENTIS U.S. LLC; BOEHRINGER
 INGELHEIM PHARMACEUTICALS,                                 COMPLAINT
 INC.; CHATTEN, INC.;
 GLAXOSMITHKLINE, LLC; and DOES 1-
 100.

                Defendants.


                                   INTRODUCTION

       1.    N-Nitrosodimethylamine (“NDMA”) is a potent carcinogen. It used to be a

chemical biproduct of making rocket fuel in the early 1900s but, today, its only use is to

induce tumors in animals as part of laboratory experiments. Its only function is to cause

cancer. It has no business being in a human body.

       2.    Zantac (chemically known as ranitidine), the popular antacid medication

used daily by millions of people, leads to the production of staggering amounts of NDMA

when it is digested by the human body. The U.S. Food and Drug Administration’s

(“FDA”) allowable daily limit of NDMA is 92 ng (nanograms) and yet, in a single dose

of Zantac, researchers are discovering over 3 million ng.

       3.    These recent revelations by independent researchers have caused

widespread recalls of Zantac both domestically and internationally, and the FDA is

actively investigating the issue, with preliminary results showing “unacceptable” levels

of NDMA.

       4.    To be clear, this is not a contamination case—the levels of NDMA that
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 2 of 47 PageID: 2



researchers are seeing in Zantac is not the product of some manufacturing error. The high

levels of NDMA observed in Zantac are a function of the ranitidine molecule and the

way it breaks down in the human digestive system.

       5.     Plaintiff Jeffrey Barajas was prescribed and took Zantac for more than three

years and, as a result, developed invasive well-differentiated adenocarcinoma in March

2019. Plaintiff’s cancer was caused by NDMA exposure created by the ingestion of

Zantac. This lawsuit seeks damages against the Defendants for causing Plaintiff’s cancer.

                                         PARTIES

       6.     Plaintiff Jeffrey Barajas (“Plaintiff”) is a natural person currently residing in

Bakersfield, California.

       7.     Defendant Sanofi S.A. is a French multinational vertically integrated

pharmaceutical company headquartered in Paris, France, with its principal place of

business located at 54, Rue La Boetie, in the 8th arrondissement.

       8.     Defendant Sanofi US Services Inc., is a Delaware corporation with its

principal place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807,

and is a wholly-owned subsidiary of Sanofi S.A. Sanofi controlled the New Drug

Application (“NDA”) for Zantac starting in January 2017 through the present.

       9.     Defendant Sanofi-Aventis U.S. LLC., is a Delaware limited liability

corporation with its       principal place of business located at 55 Corporate Drive,

Bridgewater, New Jersey 08807, and is a wholly-owned subsidiary of Sanofi S.A.

       10.    Defendant Boehringer Ingelheim Pharmaceuticals, Inc. (“BI”) is a Delaware

corporation with its principal place of business located at 900 Ridgebury Road, Ridgefield,

Connecticut 06877. BI is a subsidiary of the German company Boehringer Ingelheim

Corporation. BI owned the U.S. rights to both prescription and over-the-counter (“OTC”)
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 3 of 47 PageID: 3



Zantac between December 2006 and January 2017, and manufactured and distributed the

drug in the United States during that period.

       11.     Defendant Chattem, Inc. (“Chattem”) is a Tennessee corporation with its

principal place of business located at 1715 West 38th Street, Chattanooga, Tennessee

37409. Chattem is a wholly-owned subsidiary of Sanofi S.A., a French multinational

corporation.

       12.     Defendants Sanofi S.A., Sanofi-Aventis U.S. LLC; Sanofi US Services Inc.;

and Chattem, Inc. (collectively “Sanofi” or “Sanofi Defendants”) controlled the U.S. rights

to brand name Zantac from about January 2017 to the present, and manufactured and

distributed the drug in the United States during that period.

       13.     Defendant GlaxoSmithKline, LLC (“GSK”) is a Delaware corporation with

its principal place of business located at 5 Crescent Drive, Philadelphia, Pennsylvania,

19112 and Five Moore Drive, Research Triangle, North Carolina, 27709. GSK was the

original innovator of the Zantac drug and controlled the NDA for prescription Zantac

between 1983 and 2009. By controlling the Zantac NDA, it also directly controlled the

labeling for all Zantac products through 2009. GSK’s negligence and misconduct related

to Zantac as an innovator directly led to the failure to warn for other OTC versions of

Zantac.

       14.     At all times relevant hereto, Zantac and/or its generic ranitidine was

manufactured, designed, tested, packaged, labeled, marketed, advertised, distributed,

and sold by Defendant Sanofi, Boehringer, GSK, and the DOES 1 through 100. Plaintiff

has exercised due diligence to specifically identify the fictitious defendants during the

period of limitations applicable to this cause, but has not succeeded in that effort at the

time this Complaint was filed.
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 4 of 47 PageID: 4



       15.     Upon information and belief, the Sanofi Defendants, Boehringer, GSK, and

Does 1 through 100 acted together to design, sell, advertise, manufacture and/or

distribute Zantac and /or its generic ranitidine, with full knowledge of its dangerous and

defective nature.

                               JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.

There is complete diversity of citizenship between the parties. In addition, Plaintiff seeks

damages in excess of $75,000, exclusive of interest and costs.

       17.     This Court has personal jurisdiction over each Defendant insofar as each

Defendants is authorized and licensed to conduct business in the State of New Jersey,

maintains and carries on systematic and continuous contacts in this judicial district,

regularly transacts business within this judicial district, and regularly avails itself of the

benefits of this judicial district.

       18.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b)(2) because

a substantial part of the events and/or omissions giving rise to this claim occurred within

this judicial district and Defendant Sanofi is a resident of the state of New Jersey.

                                 FACTUAL ALLEGATIONS

I.      Brief History of Zantac and Ranitidine

       19.     Zantac was developed by GlaxoSmithKline (“GSK”) and approved for

prescription use by the FDA in 1983. The drug belongs to a class of medications called

histamine H2-receptor antagonists (or H2 blockers), which decrease the amount of acid

produced by the stomach and are used to treat gastric ulcers, heartburn, acid indigestion,

sour stomach, and other gastrointestinal conditions.

       20.     Due in large part to GSK’s marketing strategy, Zantac was a wildly
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 5 of 47 PageID: 5



successful drug, reaching $1 billion in total sales in December 1986. As one 1996 article

put it, Zantac became “the best-selling drug in history as a result of a shrewd,

multifaceted marketing strategy that . . . enabled the product to dominate the acid/peptic

marketplace.” 1
                   Significantly, the marketing strategy that led to Zantac’s success

emphasized the purported safety of the drug.

       21.    Zantac became available without a prescription in 1996, and generic

versions of the drug (ranitidine) became available the following year. Although sales of

brand-name Zantac declined as a result of generic and alternative products, Zantac sales

have remained strong over time. As recently as 2018, Zantac was one of the top ten

antacid tablet brands in the United States, with sales of Zantac 150 totaling $128.9

million—a 3.1% increase from the previous year.

       22.    On September 13, 2019, in response to a citizen’s petition filed by Valisure,

Inc. (discussed in detail below), U.S. and European regulators stated that they are

reviewing the safety of ranitidine.

       23.    On September 18, 2019, Novartis AG’s Sandoz Unit, which makes generic

drugs, stated that it was halting the distribution of its versions of Zantac in all markets,

while Canada requested drug makers selling ranitidine to stop distribution.

       24.    On September 28, 2019, CVS Health Corp. stated it would stop selling

Zantac and its own generic ranitidine products out of concern that it might contain a

carcinogen. CVS has been followed by Walmart, Inc., Walgreens Boot Alliance, and Rite

Aid Corp., all of which removed Zantac and ranitidine products.

       25.    On October 2, 2019, the FDA stated it was ordering all manufacturers of



1
 Wright, R., How Zantac Became the Best-Selling Drug in History, 1 J. HEALTHCARE MARKETING
4, 24 (Winter 1996).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 6 of 47 PageID: 6



Zantac and ranitidine products to conduct testing for NDMA and that preliminary results

indicated unacceptable levels of NDMA so far.

       26.    At no time did any Defendant attempt to include a warning about NDMA

or any cancer, nor did the FDA ever reject such a warning. Defendants had the ability

to unilaterally add an NDMA and/or cancer warning to the Zantac label (for both

prescription and OTC) without prior FDA approval pursuant to the Changes Being

Effected regulation. Had any Defendant attempted to add an NDMA warning to the

Zantac label (either for prescription or OTC), the FDA would not have rejected it.

II.     Dangers of NDMA

       27.    NDMA is a semi-volatile organic chemical that forms in both industrial and

natural processes. It is a member of N-nitrosamines, a family of potent carcinogens. The

dangers that NDMA poses to human health have long been recognized. A news article

published in 1979 noted that “NDMA has caused cancer in nearly every laboratory

animal tested so far.” NDMA is no longer produced or commercially used in the United
                       2




States, except for research. In other words, it is only a poison.

       28.    Both the Environmental Protection Agency (“EPA”) and the International

Agency for Research on Cancer (“IARC”) have classified NDMA as a probable human

carcinogen. And the World Health Organization (“WHO”) has stated that scientific



2
  Jane Brody, Bottoms Up: Alcohol in moderation can extend life, THE GLOBE AND MAIL
(CANADA) (Oct. 11, 1979); see Rudy Platiel, Anger grows as officials unable to trace poison in
reserve’s water, THE GLOBE AND MAIL CANADA) (Jan. 6, 1990) (reporting that residents of Six
Nations Indian Reserve “have been advised not to drink, cook or wash in the water because testing
has found high levels of N-nitrosodimethylamine (NDMA), an industrial byproduct chemical that
has been linked to cancer”); Kyrtopoulos et al, DNA adducts in humans after exposure to
methylating agents, 405 MUTAT. RESEAR. 135 (1998) (noting that “chronic exposure of rats to very
low doses of NDMA gives rise predominantly to liver tumours, including tumors of the liver cells
(hepatocellular carcinomas), bile ducts, blood vessels and Kupffer cells”).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 7 of 47 PageID: 7



testing indicates NDMA     consumption is positively associated with either gastric or

colorectal cancer and suggests that      humans may be especially sensitive to the

carcinogenicity of NDMA.

      29.    As early as 1980, consumer products containing unsafe levels of NDMA and

other nitrosamines have been recalled by manufacturers, either voluntarily or at the

direction of the FDA.

      30.    Most recently, beginning in the summer of 2018, there have been recalls of

several generic drugs used to treat high blood pressure and heart failure—Valsartan,

Losartan, and Irbesartan—because the medications contained nitrosamine impurities that

do not meet the FDA’s safety standards. The FDA has established a permissible daily

intake limit for the probable human carcinogen, NDMA, of 96 ng (nanogram). However,

the highest level of NDMA detected by the FDA in any of the Valsartan tablets was 20,190

ng per tablet.   In the case of Valsartan, the NDMA was an impurity caused by a

manufacturing defect, and thus NDMA was present in only some products containing

Valsartan. Zantac poses a greater safety risk than any of the recently recalled Valsartan

tablets. Not only is NDMA a byproduct of the ranitidine molecule, itself, but the levels

observed in recent testing show NDMA levels in excess of 3,000,000 ng.

      31.    Tobacco smoke also contains NDMA. One filtered cigarette contains 5-43

ng of NDMA.

      32.    In mouse studies examining the carcinogenicity of NDMA through oral

administration, animals exposed to NDMA developed cancer in the kidney, bladder, liver,

and lung. In comparable rat studies, similar cancers were observed in the liver, kidney,

pancreas, and lung. In comparable hamster studies, similar cancers were observed in the

liver, pancreas, and stomach. In comparable guinea-pig studies, similar cancers were
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 8 of 47 PageID: 8



observed in the liver and lung.      In comparable rabbit studies, similar cancers were

observed in the liver and lung.

       33.    In other long-term animal studies in mice and rats utilizing different routes

of   exposures—inhalation, subcutaneous injection, and intraperitoneal (abdomen

injection)—cancer was observed in the lung, liver, kidney, nasal cavity, and stomach.

       34.    Alarmingly, Zantac is in the FDA’s category B for birth defects, meaning it

is considered safe to take during pregnancy. However, in animal experiments, for those

animals exposed to NDMA during pregnancy, the offspring had elevated rates of cancer

in the liver and kidneys.

       35.    In addition, NDMA breaks down into various derivative molecules that,

themselves, are associated with causing cancer. In animal studies, derivatives of NDMA

induced cancer in the stomach and intestine (including colon).

       36.    Research shows that lower levels of NDMA, i.e., 40 ng, are fully metabolized

in the liver, but high doses enter the body’s general circulation.

       37.    Numerous in vitro studies confirm that NDMA is a mutagen—causing

mutations in human and animal cells.

       38.    Overall, the animal data demonstrates that NDMA is carcinogenic in all

animal species tested: mice, rats, Syrian golden hamsters, Chinese and European

hamsters, guinea-pigs, rabbits, ducks, mastomys, fish, newts, and frogs.

       39.    Pursuant to the EPA cancer guidelines, “tumors observed in animals are

generally assumed to indicate that an agent may produce tumors in humans.”

       40.     In addition to the overwhelming animal data linking NDMA to cancer,

there are numerous human epidemiological studies exploring the effects of dietary

exposure to various     cancers.   And, while these studies (several discussed below)
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 9 of 47 PageID: 9



consistently show increased risks of various cancers, the exposure levels considered in

these studies are a very small fraction—as little as 1 millionth—the exposures noted in a

single Zantac capsule, i.e., 0.191 ng/day (dietary) v. 304,500 ng/day (Zantac).

       41.     In a 1995 epidemiological case-control study looking at NDMA dietary

exposure with 220 cases, researchers observed a statistically significant 700% increased

risk of gastric cancer in persons exposed to more than 0.51 ng/day.          3




       42.     In a 1995 epidemiological case-control study looking at NDMA dietary

exposure with 746 cases, researchers observed statistically significant elevated rates of

gastric cancer in persons exposed to more than 0.191 ng/day.          4




       43.     In another 1995 epidemiological case-control study looking at, in part, the

effects of dietary consumption on cancer, researchers observed a statistically significant

elevated risk of developing aerodigestive cancer after being exposed to NDMA at .179

ng/day.  5




       44.     In a 1999 epidemiological cohort study looking at NDMA dietary exposure

with 189 cases and a follow up of 24 years, researchers noted that “N-nitroso compounds

are potent carcinogens” and that dietary exposure to NDMA more than doubled the risk

of developing colorectal cancer.   6




       45.     In a 2000 epidemiological cohort study looking at occupational exposure of

workers in the rubber industry, researchers observed significantly increased risks for


3
 Pobel et al, Nitrosamine, nitrate and nitrite in relation to gastric cancer: a case-control study
in Marseille, France, 11 EUROP. J. EPIDEMIOL. 67–73 (1995).
4
  La Vecchia et al, Nitrosamine intake and gastric cancer risk, 4 EUROP. J. CANCER. PREV. 469–
474 (1995).
5
  Rogers et al, Consumption of nitrate, nitrite, and nitrosodimethylamine and the risk of upper
aerodigestive tract cancer, 5 CANCER EPIDEMIOL. BIOMARKERS PREV. 29–36 (1995).
6
  Knekt et al, Risk of Colorectal and Other Gastro-Intestinal Cancers after Exposure to Nitrate,
Nitrite and N-nitroso Compounds: A Follow-Up Study, 80 INT. J. CANCER 852–856 (1999)
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 10 of 47 PageID: 10



NDMA exposure for esophagus, oral cavity, pharynx, prostate, and brain cancer.           7




       46.    In a 2011 epidemiological cohort study looking at NDMA dietary exposure

with 3,268 cases and a follow up of 11.4 years, researchers concluded that “[d]ietary

NDMA intake was significantly associated with increased cancer risk in men and

women” for all cancers, and         that “NDMA was associated with increased risk of

gastrointestinal cancers” including rectal cancers.   8




       47.    In a 2014 epidemiological case-control study looking at NDMA dietary

exposure     with 2,481 cases, researchers found a statistically significant elevated

association between NDMA exposure and colorectal cancer.          9




III.    How Ranitidine Transforms into NDMA Within the Body

       48.    The high levels of NDMA produced by Zantac are not caused by a

manufacturing defect but are inherent to the molecular structure of ranitidine, the active

ingredient in Zantac. The ranitidine molecule contains both a nitrite and a dimethylamine

(‘DMA’) group which are well known to combine to form NDMA.                   See Fig. 1. Thus,

ranitidine produces NDMA by “react[ing] with itself”, which means that every dosage and

form of ranitidine, including Zantac, exposes users to NDMA.




7
 Straif et al, Exposure to high concentrations of nitrosamines and cancer mortality among a
cohort of rubber workers, 57 OCCUP ENVIRON MED 180–187 (2000).
8
  Loh et al, N-nitroso compounds and cancer incidence: the European Prospective Investigation
into Cancer and Nutrition (EPIC)–Norfolk Study, 93 AM J CLIN NUTR. 1053–61 (2011).
9
  Zhu et al, Dietary N-nitroso compounds and risk of colorectal cancer: a case-control study in
Newfoundland and Labrador and Ontario, Canada, 111 BR J NUTR. 6, 1109–1117 (2014).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 11 of 47 PageID: 11



Figure 1 –Ranitidine Structure & Formation of NDMA




       49.    The formation of NDMA by the reaction of DMA and a nitroso source (such

as a nitrite) is well characterized in the scientific literature and has been identified as a

concern for contamination of the American water supply.        10
                                                                    Indeed, in 2003, alarming

levels of NDMA in drinking water processed by wastewater treatment plants was

specifically linked to the presence of ranitidine.   11




10
   Ogawa et al, Purification and properties of a new enzyme, NG, NG-dimethylarginine
dimethylaminohydrolase, from rat kidney, 264 J. BIO. CHEM. 17, 10205-10209 (1989).
11
   Mitch et al, N-Nitrosodimethylamine (NDMA) as a Drinking Water Contaminant: A Review,
20 ENV. ENG. SCI. 5, 389-404 (2003).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 12 of 47 PageID: 12



Figure 2 –Mechanism for Decomposition of Ranitidine in NDMA




       50.     The high instability of the ranitidine molecule was further elucidated in

scientific studies investigating ranitidine as a source of NDMA in drinking water and

specific mechanisms for the breakdown of ranitidine were proposed, as shown in Figure

2 above.12
             These studies underscore the instability of the NDMA group on the ranitidine

molecule and its ability to form NDMA in the environment of water treatment plants

which supply many American cities with water.

       51.     These studies did not appreciate the full extent of NDMA formation risk

from ranitidine; specifically, the added danger of this drug having not only a labile DMA

group but also a readily available nitroso source in its nitrite group on the opposite

terminus of the molecule. Recent testing of NDMA levels in ranitidine batches are so

high that the nitroso for NDMA likely comes from no other source than the ranitidine

molecule itself.

       52.     Valisure, LLC is an online pharmacy that also runs an analytical laboratory

that is ISO 17025 accredited by the International Organization for Standardization (“ISO”)



12
  Le Roux et al, NDMA Formation by Chloramination of Ranitidine: Kinetics and Mechanism,
46 Environ. Sci. Technol. 20, 11095-11103 (2012).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 13 of 47 PageID: 13



– an accreditation which recognizes a laboratory’s technical competence. Valisure’s

mission is to help ensure the safety, quality, and consistency of medications and

supplements in the market. In response to rising concerns about counterfeit medications,

generics, and overseas     manufacturing, Valisure developed proprietary analytical

technologies that it uses in addition to FDA standard assays to test every batch of every

medication it dispenses.

      53.     As part of its testing of Zantac, and other ranitidine products, in every lot

tested, Valisure discovered exceedingly high levels of NDMA. Valisure’s ISO 17025

accredited laboratory used FDA recommended GC/MS headspace analysis method

FY19-005-DPA8 for the determination of NDMA levels. As per the FDA protocol, this

method was validated to a lower limit of detection of 25 ng.  13
                                                                   The results of Valisure’s

testing show levels of NDMA well above 2 million ng per 150 mg Zantac tablet, shown

below in Table 1.

 Table 1. Ranitidine Samples Tested by Valisure Laboratory Using GC/MS Protocol

 150 mg Tablets or equivalent             Lot #                NDMA per tablet (ng)

 Reference Powder*                        125619               2,472,531
 Zantac, Brand OTC                        18M498M              2,511,469
 Zantac (mint), Brand OTC                 18H546               2,834,798
 Wal-Zan, Walgreens                       79L800819A           2,444,046
 Wal-Zan (mint), Walgreens                8ME2640              2,635,006
 Ranitidine, CVS                          9BE2773              2,520,311
 Zantac (mint), CVS                       9AE2864              3,267,968
 Ranitidine, Equate                       9BE2772              2,479,872



13
  US Food and Drug Administration. (updated 01/25/2019). Combined N-Nitrosodimethlyamine
(NDMA) and N-Nitrosodiethylamine (NDEA) Impurity Assay, FY19-005-DPA-S.
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 14 of 47 PageID: 14



 Ranitidine (mint), Equate                    8ME2642                   2,805,259
 Ranitidine, Strides                          77024060A                 2,951,649
       54.     Valisure’s testing shows, on average, 2,692,291 ng of NDMA in a 150 mg

Zantac tablet. Considering the FDA’s permissible limit is 96 ng, this would put the level
 Kjhlkjkjh;lk’;lk’;lk
of NDMA at 28,000 times the legal limit. In terms of smoking, a person would need to

smoke at least 6,200 cigarettes to achieve the same levels of NDMA found in one 150 mg

dose of Zantac.

       55.     Valisure, however, was concerned that the extremely high levels of NDMA

observed in its testing were a product of the modest oven heating parameter of 130 °C in

the FDA recommended GC/MS protocol. So, Valisure developed a low temperature

GC/MS method that could still detect NDMA but would only subject samples to 37 °C,

the average temperature of the human body. This method was validated to a lower limit

of detection of 100 ng.

       56.     Valisure tested ranitidine tablets by themselves and in conditions

simulating the human stomach. Industry standard “Simulated Gastric Fluid” (“SGF” 50

mM potassium chloride, 85 mM hydrochloric acid adjusted to pH 1.2 with 1.25 g pepsin

per liter) and “Simulated Intestinal Fluid” (“SIF” 50 mM potassium chloride, 50 mM

potassium phosphate monobasic adjusted to pH 6.8 with hydrochloric acid and sodium

hydroxide) were used alone and in combination with various concentrations of nitrite,

which is commonly ingested in foods like processed meats and is elevated in the stomach

by antacid drugs.

       57.     Indeed, Zantac was specifically advertised to be used when consuming

foods containing high levels of nitrates, like tacos, pizza, etc.  14




14
   See, e.g., https://www.ispot.tv/ad/dY7n/zantac-family-taco-night;
https://youtu.be/jzS2kuB5_wg; https://youtu.be/Z3QMwkSUlEg;
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 15 of 47 PageID: 15



       58.    The results of Valisure’s tests on ranitidine tablets in biologically relevant

conditions demonstrate significant NDMA formation under simulated gastric conditions

with nitrite present (see Table 2).

 Table 2. Valisure Biologically relevant tests for NDMA formation

 Ranitidine Tablet Studies                  NDMA (ng/mL)            NDMA per tablet (ng)

 Tablet without Solvent                     Not Detected            Not Detected
 Tablet                                     Not Detected            Not Detected
 Simulated Gastric Fluid (“SGF”)            Not Detected            Not Detected
 Simulated Intestinal Fluid                 Not Detected            Not Detected
 SGF with 10 mM Sodium Nitrite              Not Detected            Not Detected
 SGF with 25 mM Sodium Nitrite              236                     23,600
 SGF with 50 mM Sodium Nitrite              3,045                   304,500


       59.    Under biologically relevant conditions, when nitrites are present,

staggeringly high levels of NDMA are found in one dose of 150 mg Zantac, ranging

between 245 and 3,100 times above the FDA-allowable limit. In terms of smoking, one

would need to smoke over 500 cigarettes to achieve the same levels of NDMA found in

one dose of 150 mg Zantac at the 25 ng level (over 7,000 for the 50 !g level).

       60.    Antacid drugs are known to increase stomach pH and thereby increase the

growth of nitrite-reducing bacteria which further elevate levels of nitrite. This fact is well

known and even present in the warning labels of antacids like Prevacid (lansoprazole)

and was specifically studied with ranitidine in the original approval of the drug. Thus,

higher levels of nitrites in patients regularly taking Zantac would be expected.

       61.    In fact, NDMA formation in the stomach has been a concern for many years




https://youtu.be/qvh9gyWqQns.
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 16 of 47 PageID: 16



and specifically ranitidine has been implicated as a cause of NDMA formation by

multiple research groups, including those at Stanford University.

       62.     Existing research shows that ranitidine interacts with nitrites and acids in

the chemical environment of the human stomach to form NDMA.                     In vitro tests

demonstrate that when ranitidine undergoes “nitrosation” (the process of a compound

being converted into nitroso derivatives) by interacting with gastric fluids in the human

stomach, the by-product created is dimethylamine (“DMA”) – which is an amine present

in ranitidine itself. When DMA is released, it can be nitrosated even further to form

NDMA, a secondary N-nitrosamine.

       63.     Moreover, in addition to the gastric fluid mechanisms investigated in the

scientific literature, Valisure identified a possible enzymatic mechanism for the liberation

of    ranitidine’s   DMA      group     via   the     human    enzyme      dimethylarginine

dimethylaminohydrolase (“DDAH”) which               can occur in other tissues and organs

separate from the stomach.

       64.     Liberated DMA can lead to the formation of NDMA when exposed to nitrite

present on the ranitidine molecule, nitrite freely circulating in the body, or other potential

pathways, particularly in weak acidic conditions such as that in the kidney or bladder.

The    original scientific paper detailing the discovery of the DDAH enzyme in 1989

specifically   comments on the propensity of DMA to form NDMA: “This report also

provides a useful     knowledge for an understanding of the endogenous source of

dimethylamine as a precursor of a potent carcinogen, dimethylnitrosamine [NDMA].”          15




       65.     In Figure 3, below, computational modelling demonstrates that ranitidine




15
  Ogawa et al, Purification and properties of a new enzyme, NG, NG-dimethylarginine
dimethylaminohydrolase, from rat kidney, 264 J. BIO. CHEM. 17, 10205-10209 (1989).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 17 of 47 PageID: 17



(shown in green) can readily bind to the DDAH-1 enzyme (shown as a cross-section in

grey) in a manner similar to the natural substrate of DDAH-1 known as asymmetric

dimethylarginine (“ADMA,” shown in blue).

Figure 3 – Computational Modelling of Ranitidine Binding to DDAH-1 Enzyme




      66.     These results indicate that the enzyme DDAH-1 increases formation of

NDMA in the human body when ranitidine is present; therefore, the expression of the

DDAH-1 gene is useful for identifying organs most susceptible to this action.

      67.     Figure 4 below, derived from the National Center for Biotechnology

Information, illustrates the expression of the DDAH-1 gene in various tissues in the

human body.
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 18 of 47 PageID: 18



Figure 4 – Expression levels of DDAH-1 enzyme by Organ




      68.    DDAH-1 is most strongly expressed in the kidneys but also broadly

distributed throughout the body, such as in the liver, prostate, stomach, bladder, brain,

colon, and prostate. This offers both a general mechanism for NDMA formation in the

human body from ranitidine and specifically raises concern for the effects of NDMA on

numerous organs, including the bladder.

      69.    In addition to the aforementioned in vitro studies that suggest a strong

connection between ranitidine and NDMA formation, in vivo clinical studies in living

animals add further      weight to concern over this action and overall potential

carcinogenicity. A study published in the journal Carcinogenesis in 1983 titled “Genotoxic

effects in rodents given high oral doses of ranitidine and sodium nitrite” specifically

suspected the carcinogenic nature of ranitidine in combination with nitrite. The authors

of this study concluded: “Our experimental findings have shown that simultaneous oral

administration in rats of high doses of ranitidine and NaNO2 [nitrite] can produce DNA
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 19 of 47 PageID: 19



fragmentation either in liver or in gastric mucosa.”     16




           70.    The human data, although limited at this point, is even more concerning. A

study completed and published in 2016 by Stanford University observed that healthy

individuals, both male and female, who ingested Zantac 150 mg tablets produced

roughly 400 times elevated amounts of NDMA in their urine (over 47,000 ng) in the

proceeding 24 hours after ingestion.    17




           71.    Likely due to the perceived high safety profile of ranitidine, very few

epidemiological studies have been conducted on this drug.

           72.    A 2004 study published by the National Cancer Institute investigated 414

cases of peptic ulcer disease reported in 1986 and followed the individual cases for 14

years.18
            One of the variables investigated by the authors was the patients’ consumption

of a prescription antacid, either Tagamet (cimetidine) or Zantac (ranitidine). The authors

concluded that “[r]ecent use of ulcer treatment medication (Tagamet and Zantac) was

also related to the risk of bladder cancer, and this association was independent of the

elevated risk observed with gastric ulcers.”          Specifically, the authors note that “N-

Nitrosamines are known carcinogens, and nitrate ingestion has been related to bladder

cancer risk.” NDMA is among the most common of the N-Nitrosamines.

           73.    A 1982 clinical study in rats compared ranitidine and cimetidine exposure

in combination with nitrite. When investigating DNA fragmentation in the rats’ livers,

no effect        was observed for cimetidine administered with nitrite, but ranitidine



16
   Brambilla et al., Genotoxic effects in rodents given high oral doses of ranitidine and sodium
nitrite, 4 CARCINOGENESIS 10, 1281-1285 (1983).
17
   Zeng et al, Oral intake of ranitidine increases urinary excretion of N-nitrosodimethylamine, 37
CARCINOGENESIS 625-634 (2016).
18
   Michaud et al, Peptic ulcer disease and the risk of bladder cancer in a prospective study of male
health professionals, 13 CANCER EPIDEMIOL BIOMARKERS PREV. 2, 250-254 (2004).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 20 of 47 PageID: 20



administered with nitrite resulted in a significant DNA fragmentation.   19




       74.    Investigators at Memorial Sloan Kettering Cancer Center are actively

studying ranitidine to evaluate the extent of the public health implications of these

findings. Regarding ranitidine, one of the investigators commented: “A potential link

between NDMA and ranitidine is concerning, particularly considering the widespread

use of this medication. Given the known carcinogenic potential of NDMA, this finding

may have significant public health implications[.]”

IV.     Defendants Knew of the NDMA Defect but Failed to Warn or Test

       75.    During the time that Defendants manufactured and sold Zantac in the

United States, the weight of scientific evidence showed that Zantac exposed users to

unsafe levels of NDMA. Defendants failed to disclose this risk to consumers on the

drug’s label—or through any other means—and Defendants failed to report these risks

to the FDA.

       76.    Going back as far as 1981, two years before Zantac entered the market,

research showed elevated rates of NDMA, when properly tested. This was known or

should have been known by Defendants.

       77.    Defendants concealed the Zantac–NDMA link from consumers in part by

not reporting it to the FDA, which relies on drug manufacturers (or others, such as those

who submit citizen petitions) to bring new information about an approved drug like

Zantac to the agency’s attention.

       78.    Manufacturers of an approved drug are required by regulation to submit an



19
  Brambilla et al, Genotoxic Effects of Drugs: Experimental Findings Concerning Some Chemical
Families of Therapeutic Relevance, Nicolini C. (eds) Chemical Carcinogenesis. NATO Advanced
Study Institutes Series (Series A: Life Sciences), Vol 52. Springer, Boston, MA (1982).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 21 of 47 PageID: 21



annual report to the FDA containing, among other things, new information regarding

the drug’s safety pursuant to 21 C.F.R. § 314.81(b)(2):

              The report is required to contain . . . [a] brief summary of significant
              new information from the previous year that might affect the safety,
              effectiveness, or labeling of the drug product. The report is also
              required to contain a brief description of actions the applicant has
              taken or intends to take as a result of this new information, for
              example, submit a labeling supplement, add a warning to the
              labeling, or initiate a new study.

       79.    “The manufacturer’s annual report also must contain copies of unpublished

reports and summaries of published reports of new toxicological findings in animal

studies and in vitro studies (e.g., mutagenicity) conducted by, or otherwise obtained by,

the [manufacturer]      concerning the ingredients in the drug product.” 21 C.F.R. §

314.81(b)(2)(v).

       80.    Defendants ignored these regulations and, disregarding the scientific

evidence available to them, did not report to the FDA significant new information

affecting the safety or labeling of Zantac.

       81.    Defendants never provided the relevant studies to the FDA, nor did they

present to the FDA with a proposed disclosure noting the link between ranitidine and

NDMA.

       82.    In a 1981 study published by GSK, the originator of the ranitidine molecule,

the metabolites of ranitidine in urine were studied using liquid chromatography. Many   20




metabolites were listed, though there is no indication that NDMA was looked for.

Plaintiffs believe this was intentional—a gambit by the manufacturer to avoid detecting




20
  Carey et al, Determination of ranitidine and its metabolites in human urine by reversed-phase
ion-pair high-performance liquid chromatography, 255 J. CHROMATOGRAPHY B: BIOMEDICAL
SCI. & APPL. 1, 161-168 (1981).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 22 of 47 PageID: 22



a carcinogen in their product.

       83.    By 1987, after numerous studies raised concerns over ranitidine and

cancerous nitroso compounds (discussed previously), GSK published a clinical study

specifically investigating gastric contents in human patients and N-nitroso compounds.          21




This study     specifically indicated that there were no elevated levels of N-nitroso

compounds (of which NDMA is one). However, the study was rigged to fail. It used an

analytical system called a “nitrogen oxide assay” for the determination of N-

nitrosamines, which was developed for analyzing food and is a detection method that

indirectly and non-specifically measures N-nitrosamines. Furthermore, in addition to this

approach being less accurate, GSK also removed            all gastric samples that contained

ranitidine out of concern that samples with ranitidine would                    contain “high

concentrations of N-nitroso compounds being recorded.” So, without the chemical being

present in any sample, any degradation into NDMA could not, by design, be observed.

Again, this spurious test was intentional and designed to mask any potential cancer risk.

       84.    There are multiple alternatives to Zantac that do not pose the same risk,

such   as    Cimetidine     (Tagamet),    Famotidine     (Pepcid),    Omeprazole      (Prilosec),

Esomeprazole (Nexium), and Lansoprazole (Prevacid).

V.      Statement of Plaintiff’s Injuries

       85.    Plaintiff ingested Zantac from 2006 through 2019, when he was diagnosed

with well-differentiated adenocarcinoma of the colon.

       86.    Based on prevailing scientific evidence, exposure to Zantac (and the




21
  Thomas et al, Effects of one year’s treatment with ranitidine and of truncal vagotomy on
gastric contents, 6 GUT. Vol. 28, 726-738 (1987).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 23 of 47 PageID: 23



attendant NDMA) can cause cancer in humans.

      87.    Plaintiff’s cancer was caused by ingestion of Zantac. Plaintiff, as a direct and

proximate result of his use of the Zantac, suffered severe mental and physical pain and

economic loss.

      88.    As a proximate result of Plaintiffs’ acts and/or omissions, Plaintiff suffered

the injuries described hereinabove due to his ingestion of the Zantac.              Plaintiff

accordingly seeks damages associated with these injuries.

      89.    Had any Defendant warned Plaintiff that Zantac could lead to exposure to

NDMA or, in turn, cancer, Plaintiff would not have taken Zantac.

VI.    Exemplary / Punitive Damages Allegations

      90.    Defendants’ conduct as alleged herein was done with reckless disregard for

human life, oppression, and malice. Defendants were fully aware of the safety risks of

Zantac, particularly the carcinogenic potential of Zantac as it transforms into NDMA

within the chemical    environment of the human body.            Nonetheless, Defendants

deliberately crafted their label, marketing, and promotion to mislead consumers.

      91.    This was not done by accident or through some justifiable negligence.

Rather, Defendants knew that it could turn a profit by convincing consumers that Zantac

was harmless to humans, and that full disclosure of the true risks of Zantac would limit

the amount of money Defendants would make selling Zantac. Defendants’ object was

accomplished not only through its misleading label, but through a comprehensive

scheme of selective misleading research and      testing, false advertising, and deceptive

omissions as more fully alleged throughout this pleading. Plaintiff was denied the right

to make an informed decision about whether to purchase and use Zantac, knowing the

full risks attendant to that use. Such conduct was done with conscious disregard of
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 24 of 47 PageID: 24



Plaintiff’s rights.

       92.     Accordingly, Plaintiff requests punitive damages against Defendants for the

harms caused to Plaintiff.

              TOLLING OF STATUTE OF LIMITATIONS AND ESTOPPEL

       93.     Within the time period of any applicable statute of limitations, Plaintiff

could have discovered through the exercise of reasonable diligence that exposure to

Zantac is injurious to human health.

       94.     Plaintiff could not have discovered nor have known of facts that would

cause a reasonable person to suspect the risk associated with the use of Zantac, nor would

a reasonable and diligent investigation by the Plaintiff have disclosed that Zantac would

cause Plaintiff’s illnesses.

       95.     The expiration of any applicable statute of limitations has been equitably

tolled by     reason of Defendants’ misrepresentations and concealment.          Through

affirmative    misrepresentations and omissions, Defendants actively concealed from

Plaintiff the true risks associated with use of Zantac.

       96.     As a result of Defendants’ actions, Plaintiff could not reasonably have

known or learned through reasonable diligence that Plaintiff had been exposed to the

risks alleged herein and/or that those risks were the direct and proximate result of

Defendants’ acts and/or omissions.

       97.     Defendants are stopped from relying on any statute of limitations because

of their concealment of the truth regarding the safety of Zantac. Defendants had a duty

to disclose the true character, quality and nature of Zantac because this was non-public

information over which Defendants continue to have control. Defendants knew this

information was not available to Plaintiff, Plaintiff’s medical providers and/or health
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 25 of 47 PageID: 25



facilities, yet Defendants failed    to disclose the information to the public, including

Plaintiff.

       98.    Defendants had the ability to and did spend enormous amounts of money

in furtherance of marketing and promoting a profitable product, notwithstanding the

known or reasonably knowable risks. Plaintiff and medical professionals could not have

afforded to and could not have possibly conducted studies to determine the nature,

extent, and identity of related health risks and were forced to rely on Defendants’

representations.

                                    CAUSES OF ACTION

                   COUNT I: STRICT LIABILITY – DESIGN DEFECT

       99.    Plaintiff incorporates by reference each allegation set forth in preceding

paragraphs as if fully stated herein.

       100.   Plaintiff brings this strict liability claim against Defendants (including

Defendants DOES 1-100) for defective design.

       101.   At all relevant times, Defendants (including Defendants DOES 1-100)

engaged in the business of testing, developing, designing, manufacturing, marketing,

selling, distributing, and promoting Zantac products,         which are defective and

unreasonably dangerous to consumers, including Plaintiff, thereby         placing Zantac

products into the stream of commerce. These actions were under the ultimate control

and supervision of Defendants. At all relevant times, Defendants designed, researched,

developed, manufactured, produced, tested, assembled, labeled, advertised, promoted,

marketed, sold, and distributed the Zantac products used by Plaintiff, as described

herein.

       102.   At all relevant times, Defendants’ Zantac products were manufactured,
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 26 of 47 PageID: 26



designed, and labeled in an unsafe, defective, and inherently dangerous manner that was

dangerous for use by or exposure to the public, including Plaintiff.

       103.    At all relevant times, Defendants’ Zantac products reached the intended

consumers, handlers, and users or other persons coming into contact with these products

within this judicial district and throughout the United States, including Plaintiff, without

substantial change in their condition as designed, manufactured, sold, distributed,

labeled, and marketed by      Defendants (including Defendants DOES 1-100).          At all

relevant times, Defendants registered, researched, manufactured, distributed, marketed

and sold Zantac products within this judicial district and aimed at a consumer market

within this judicial district. Defendants were at all relevant times involved in the retail

and promotion of Zantac products marketed and sold in this judicial district.

       104.    Defendants’ Zantac products, as researched, tested, developed, designed,

licensed,     manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the control

of Defendants’ manufacturers and/or suppliers, they were unreasonably dangerous and

dangerous to an extent beyond that which an ordinary consumer would contemplate.

       105.    Defendants’ Zantac products, as researched, tested, developed, designed,

licensed,     manufactured, packaged, labeled, distributed, sold, and marketed by

Defendants were defective in design and formulation in that, when they left the hands

of Defendants’ manufacturers and/or        suppliers, the foreseeable risks exceeded the

alleged benefits associated with their design and formulation.

       106.    At all relevant times, Defendants (including Defendants DOES 1-100) knew

or had reason to know that Zantac products were defective and were inherently

dangerous and unsafe when used in the manner instructed and provided by Defendants.
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 27 of 47 PageID: 27



      107.   Therefore, at all relevant times, Defendants’ Zantac products, as researched,

tested, developed, designed, registered, licensed, manufactured, packaged, labeled,

distributed, sold and marketed by Defendants were defective in design and formulation,

in one or more of the following ways:

             a.    When placed in the stream of commerce, Defendants’ Zantac

                   products were defective in design and              formulation,   and,

                   consequently, dangerous to an extent beyond that which an ordinary

                   consumer would contemplate;

             b.    When placed in the stream of commerce, Defendants’ Zantac

                   products were unreasonably dangerous in that they were hazardous

                   and posed a grave risk of cancer and other serious illnesses when

                   used in a reasonably anticipated manner;

             c.    When placed in the stream of commerce, Defendants’ Zantac

                   products contained unreasonably dangerous design defects and

                   were not reasonably safe when used in a reasonably anticipated or

                   intended manner;

             d.    Defendants did not sufficiently test, investigate, or study its Zantac

                   products and, specifically, the ability for Zantac to transform into

                   the carcinogenic compound NDMA within the human body;

             e.    Exposure to Zantac products presents a risk of harmful side effects

                   that outweigh any potential utility stemming from the use of the

                   drug;

             f.    Defendants knew or should have known at the time of marketing

                   Zantac products that exposure to Zantac could result in cancer and
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 28 of 47 PageID: 28



                     other severe illnesses and injuries;

              g.     Defendants did not conduct adequate post-marketing surveillance of

                     its Zantac products; and

              h.     Defendants could have employed safer alternative designs and

                     formulations.

       108.   Plaintiff used and was exposed to Defendants’ Zantac products without

knowledge of Zantac’s dangerous characteristics.

       109.   At all times relevant to this litigation, Plaintiff used and/or was exposed to

the use of Defendants’ Zantac products in an intended or reasonably foreseeable manner

without knowledge of Zantac’s dangerous characteristics.

       110.   Plaintiff could not reasonably have discovered the defects and risks

associated with Zantac products before or at the time of exposure due to the Defendants’

suppression or obfuscation of scientific information linking Zantac to cancer.

       111.   The harm caused by Defendants’ Zantac products far outweighed their

benefit, rendering Defendants’ product dangerous to an extent beyond that which an

ordinary consumer would contemplate. Defendants’ Zantac products were and are more

dangerous than alternative       products, and Defendants could have designed Zantac

products to make them less dangerous. Indeed, at the time Defendants designed Zantac

products, the state of the industry’s scientific knowledge was such that a less risky design

or formulation was attainable.

       112.   At the time Zantac products left Defendants’ control ((including that of

Defendants DOES 1-100), there was a practical, technically feasible and safer alternative

design that would have prevented the harm without             substantially impairing the

reasonably anticipated or intended function of Defendants’ Zantac           products.   For
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 29 of 47 PageID: 29



example, the Defendants could have added ascorbic acid (Vitamin C) to each dose of

Zantac, which is known to scavenge nitrites and reduce the ability of the body to

recombine ranitidine into NDMA.       22




       113.    Defendants’ (including Defendants DOES 1-100) defective design of Zantac

products was willful, wanton, malicious, and conducted with reckless disregard for the

health and safety of users of the Zantac products, including Plaintiff.

       114.    Therefore, as a result of the unreasonably dangerous condition of their

Zantac products, Defendants (including Defendants DOES 1-100) are strictly liable to

Plaintiff.

       115.    The defects in Defendants’ (including Defendants DOES 1-100) Zantac

products were substantial and contributing factors in causing Plaintiff’s injuries, and, but

for Defendants’ misconduct and omissions, Plaintiff would not have sustained injuries.

       116.    Defendants’ (including Defendants DOES 1-100) conduct, as described

above, was reckless. Defendants risked the lives of consumers and users of its products,

including Plaintiff, with knowledge of the safety problems associated with Zantac

products, and suppressed this knowledge from the general public. Defendants made

conscious decisions not to redesign, warn or inform the unsuspecting public. Defendants’

reckless conduct warrants an award of punitive damages.

       117.    As a direct and proximate result of Defendants (including Defendants

DOES 1-100) placing its defective Zantac products into the stream of commerce, and the



22
  See, e.g., Vermeer, et al., Effect of ascorbic acid and green tea on endogenous formation of N
nitrosodimethylamine and N-nitrosopiperidine in humans. 428 MUTAT. RES., FUNDAM. MOL.
MECH. MUTAGEN. 353–361 (1999); Garland et al., Urinary excretion of nitrosodimethylamine
and nitrosoproline in humans: Interindividual and intraindividual differences and the effect of
administered ascorbic acid and α-tocopherol, 46 CANCER RESEARCH 5392–5400 (1986).
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 30 of 47 PageID: 30



resulting injuries, Plaintiff was injured and sustained pecuniary loss including general

damages in a sum which exceeds the jurisdictional minimum of this Court.

         118.   As a proximate result of Defendants (including Defendants DOES 1-100)

placing its defective Zantac products into the stream of commerce, as alleged herein, there

was a measurable and significant interval of time during which Plaintiff has suffered

great mental anguish and other personal injury and damages.

         119.   WHEREFORE, Plaintiff respectfully requests this Court to enter judgment

against Defendants (including Defendants DOES 1-100) for compensatory and punitive

damages, together with interest, costs herein incurred, attorneys’ fees and all such other

and further relief as this Court deems just and proper.

                     COUNT II: STRICT LIABILITY – FAILURE TO WARN

         120.   Plaintiff incorporates by reference each allegation set forth in preceding

paragraphs as if fully stated herein.

         121.   Plaintiff brings this strict liability claim against Defendants (including

Defendants DOES 1-100) for failure to warn.

         122.   At all relevant times, Defendants (including Defendants DOES 1-100)

engaged in the business of testing, developing, designing, manufacturing, marketing,

selling, distributing, and promoting Zantac products which             are defective and

unreasonably dangerous to consumers, including Plaintiff, because they do not contain

adequate warnings or instructions concerning the dangerous characteristics of Zantac and

NDMA. These actions were under the ultimate control and supervision of Defendants.

At all    relevant times, Defendants registered, researched, manufactured, distributed,

marketed, and sold Zantac and other ranitidine formulations within this judicial district

and aimed at a consumer market. Defendants were at all relevant times involved in the
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 31 of 47 PageID: 31



retail and promotion of Zantac products marketed and sold in in this judicial district.

         123.   Defendants (including Defendants DOES 1-100) researched, developed,

designed, tested, manufactured, inspected, labeled, distributed, marketed, promoted,

sold, and otherwise released into the stream of commerce its Zantac products, and in the

course of same, directly advertised or marketed the products to consumers and end users,

including Plaintiff, and therefore had a duty to warn of the risks associated with the use

of Zantac products.

         124.   At all relevant times, Defendants (including Defendants DOES 1-100) had a

duty to properly test, develop, design, manufacture, inspect, package, label, market,

promote, sell, distribute, maintain, supply, provide proper warnings, and take such steps

as necessary to ensure its Zantac products did not cause users and consumers to suffer

from unreasonable and dangerous risks. Defendants had a continuing duty to warn

Plaintiff of dangers associated with Zantac. Defendants, as a manufacturer, seller, or

distributor of pharmaceutical medication, are held to the knowledge of an expert in the

field.

         125.   At the time of manufacture, Defendants (including Defendants DOES 1-100)

could have provided the warnings or instructions regarding the full and complete risks

of Zantac products because they knew or should have known of the unreasonable risks

of harm associated with the use of and/or exposure to such products.

         126.   At all relevant times, Defendants (including Defendants DOES 1-100) failed

and deliberately refused to investigate, study, test, or promote the safety or to minimize

the dangers to users and consumers of their product and to those who would foreseeably

use or be harmed by Defendants’ Zantac products, including Plaintiff.

         127.   Even though Defendants (including Defendants DOES 1-100) knew or
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 32 of 47 PageID: 32



should have known that Zantac posed a grave risk of harm, they failed to exercise

reasonable care to warn of the dangerous risks associated with use and exposure. The

dangerous propensities of their products and the carcinogenic characteristics of NDMA

as produced within the human body as a result of ingesting Zantac, as described above,

were known to Defendants, or scientifically knowable to Defendants through

appropriate research and testing by known methods, at the time they distributed,

supplied or sold the product, and were not known to end users and consumers, such as

Plaintiff.

       128.   Defendants (including Defendants DOES 1-100) knew or should have

known their products created significant risks of serious bodily harm to consumers, as

alleged herein, and Defendants failed to adequately warn consumers, i.e., the reasonably

foreseeable users, of the risks of exposure to its products. Defendants have wrongfully

concealed information concerning the dangerous nature of Zantac and the potential for

ingested Zantac to transform into the carcinogenic NDMA compound, and further, have

made false and/or misleading statements concerning the safety of Zantac products.

       129.   At all relevant times, Defendants’ Zantac products reached the intended

consumers, handlers, and users or other persons coming into contact with these products

within this judicial district and throughout the United States, including Plaintiff, without

substantial   change in their condition as designed, manufactured, sold, distributed,

labeled, and marketed by Defendants.

       130.   Plaintiff was exposed to Defendants’ Zantac products without knowledge

of their dangerous characteristics.

       131.   At all relevant times, Plaintiff used and/or was exposed to the use of

Defendants’ Zantac products while using them for their intended or reasonably
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 33 of 47 PageID: 33



foreseeable purposes, without knowledge of their dangerous characteristics.

      132.   Plaintiff could not have reasonably discovered the defects and risks

associated with Zantac products prior to or at the time of Plaintiff consuming Zantac.

Plaintiff relied upon the skill, superior knowledge, and judgment of Defendants to know

about and disclose serious health risks associated with using Defendants’ products.

      133.   Defendants (including Defendants DOES 1-100) knew or should have

known that the minimal warnings disseminated with their Zantac products were

inadequate, failed to communicate adequate information on the          dangers and safe

use/exposure, and failed to communicate warnings and instructions that were

appropriate and adequate to render the products safe for their ordinary, intended and

reasonably foreseeable uses.

      134.   The information Defendants (including Defendants DOES 1-100) did

provide or communicate failed to contain relevant warnings, hazards, and precautions

that would have enabled consumers such as Plaintiff to utilize the products safely and

with adequate protection.      Instead, Defendants disseminated    information that was

inaccurate, false and misleading, and which failed to communicate           accurately or

adequately the comparative severity, duration, and extent of the risk of injuries with use

of and/or exposure to Zantac; continued to aggressively promote the efficacy of its

products, even after they knew or should have known of the unreasonable risks from use

and/or exposure; and      concealed, downplayed, or otherwise suppressed, through

aggressive marketing and promotion, any information or research about the risks and

dangers of ingesting Zantac.

      135.   This alleged failure to warn is not limited to the information contained on

Zantac’s labeling. Defendants were able, in accordance with federal law, to comply with
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 34 of 47 PageID: 34



relevant state law by disclosing the known risks associated with Zantac through other

non-labeling mediums, i.e., promotion, advertisements, public service announcements,

and/or public information sources. But the Defendants did not disclose these known

risks through any medium.

      136.   Defendants (including Defendants DOES 1-100) are liable to Plaintiff for

injuries caused by their negligent or willful failure, as described above, to provide

adequate warnings or other clinically relevant information and data regarding the

appropriate use of their products and the risks associated with the use of Zantac.

      137.   Had Defendants (including Defendants DOES 1-100) provided adequate

warnings and instructions and properly disclosed and disseminated the risks associated

with their Zantac products, Plaintiff could have avoided the risk of developing injuries

and could have obtained or used alternative medication.

      138.   As a direct and proximate result of Defendants (including Defendants

DOES 1-100) placing defective Zantac products into the stream of commerce, Plaintiff

was injured and sustained pecuniary loss resulting and general damages in a sum

exceeding the jurisdictional minimum of this Court.

      139.   As a proximate result of Defendants (including Defendants DOES 1-100)

placing defective Zantac products into the stream of commerce, as alleged herein, there

was a measurable and significant interval of time during which Plaintiff suffered great

mental anguish and other personal injury and damages.

      140.   WHEREFORE, Plaintiff respectfully requests this Court to enter judgment

against Defendants (including Defendants DOES 1-100) for compensatory and punitive

damages, together with interest, costs herein incurred, attorneys’ fees and all such other

and further relief as this Court deems just and proper.
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 35 of 47 PageID: 35



                               COUNT III: NEGLIGENCE

       141.    Plaintiff incorporates by reference each allegation set forth in preceding

paragraphs as if fully stated herein.

       142.    Defendants (including Defendants DOES 1-100), directly or indirectly,

caused Zantac products to be sold, distributed, packaged, labeled, marketed, promoted,

and/or used by Plaintiff. At all relevant times,     Defendants registered, researched,

manufactured, distributed, marketed and sold Zantac within this judicial district and

aimed at a consumer market within this district.

       143.    At all relevant times, Defendants (including Defendants DOES 1-100) had a

duty to exercise reasonable care in the design, research, manufacture, marketing,

advertisement, supply, promotion, packaging, sale, and distribution of Zantac products,

including the duty to take all reasonable steps necessary to manufacture, promote,

and/or sell a product that was not unreasonably dangerous to consumers and users of

the product.

       144.    At all relevant times, Defendants (including Defendants DOES 1-100) had a

duty to exercise reasonable care in the marketing, advertisement, and sale of the Zantac

products. Defendants’ duty of care owed to consumers and the general public included

providing accurate, true, and correct information concerning the risks of using Zantac

and appropriate, complete, and accurate warnings       concerning the potential adverse

effects of Zantac and, in particular, its ability to transform into     the carcinogenic

compound NDMA.

       145.    At all relevant times, Defendants (including Defendants DOES 1-100) knew

or, in the exercise of reasonable care, should have known of the hazards and dangers of

Zantac and, specifically, the carcinogenic properties of NDMA when Zantac is ingested.
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 36 of 47 PageID: 36



       146.   Accordingly, at all relevant times, Defendants (including Defendants DOES

1-100) knew or, in the exercise of reasonable care, should have known that use of Zantac

products could cause or be associated with Plaintiff’s injuries, and thus, create a

dangerous and unreasonable risk of injury to the users of these products, including

Plaintiff.

       147.   Defendants (including Defendants DOES 1-100) also knew or, in the

exercise of reasonable care, should have known that users and consumers of Zantac were

unaware of the risks and the magnitude of the risks associated with use of Zantac.

       148.   As such, Defendants (including Defendants DOES 1-100) breached their

duty of reasonable care and failed to exercise ordinary care in the design, research,

development, manufacture, testing, marketing, supply,         promotion, advertisement,

packaging, sale, and distribution of Zantac products, in that Defendants manufactured

and produced defective Zantac which carries the potential to transform           into the

carcinogenic compound NDMA; knew or had reason to know of the defects inherent in

its products; knew or had reason to know that a user’s or consumer’s use of the products

created a significant risk of harm and unreasonably dangerous side effects; and failed to

prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately

refused to test Zantac products because they knew the chemical posed serious health

risks to humans.

       149.   Defendants (including Defendants DOES 1-100) were negligent in their

promotion of Zantac, outside of the labeling context, by failing to disclose material risk

information as part of their promotion and marketing of Zantac, including the internet,

television, print advertisements, etc. Nothing prevented Defendants from being honest

in their promotional activities, and, in fact, Defendants had a duty to disclose the truth
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 37 of 47 PageID: 37



about the risks associated with Zantac in their promotional efforts, outside of the context

of labeling.

       150.    Despite their ability and means to investigate, study, and test the products

and to provide adequate warnings, Defendants (including Defendants DOES 1-100)

failed to do so. Indeed, Defendants wrongfully concealed information and further made

false and/or misleading statements concerning the safety and use of Zantac.

       151.    Defendants’ negligence included:

               a.    Manufacturing,     producing,   promoting,     formulating,   creating,

                     developing, designing, selling, and/or distributing Zantac products

                     without thorough and adequate pre- and post-market testing;

               b.    Manufacturing,     producing,   promoting,     formulating,   creating,

                     developing, designing, selling, and/or distributing Zantac while

                     negligently and/or intentionally concealing and failing to disclose

                     the results of trials, tests, and studies of Zantac and the carcinogenic

                     potential of NDMA as created in the human body as a result of

                     ingesting Zantac, and, consequently, the risk of serious harm

                     associated with human use of Zantac;

               c.    Failing to undertake sufficient studies and conduct necessary tests to

                     determine whether Zantac products were safe for their intended

                     consumer use;

               d.    Failing to use reasonable and prudent care in the design, research,

                     manufacture, and development of Zantac products so as to avoid

                     the risk of serious harm associated with the prevalent use of Zantac

                     products;
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 38 of 47 PageID: 38



            e.    Failing to design and manufacture Zantac products so as to ensure

                  they were at least as safe and effective as other medications on the

                  market intended to treat the same symptoms;

            f.    Failing to provide adequate instructions, guidelines, and safety

                  precautions to those persons Defendants could reasonably foresee

                  would use Zantac products;

            g.    Failing to disclose to Plaintiff, users/consumers, and the general

                  public that use of Zantac presented severe risks of cancer and other

                  grave illnesses;

            h.    Failing to warn Plaintiff, consumers, and the general public that the

                  product’s risk of harm was unreasonable and that there were safer

                  and effective alternative medications available to Plaintiff and other

                  consumers;

            i.    Systematically suppressing and/or downplaying contrary evidence

                  about the risks, incidence, and prevalence of the side effects of

                  Zantac products;

            j.    Representing that their Zantac products were safe for their intended

                  use when, in fact, Defendants knew or should have known the

                  products were not safe for their intended purpose;

            k.    Declining to make or propose any changes to Zantac products’

                  labeling or other promotional materials that would alert consumers

                  and the general public of the risks of Zantac;

            l.    Advertising, marketing, and recommending use of the Zantac

                  products, while concealing and failing to disclose or warn of the
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 39 of 47 PageID: 39



                     dangers known (by Defendants) to be associated with or caused by

                     the use of or exposure to Zantac;

              m.     Continuing to disseminate information to its consumers, which

                     indicates or implies Defendants’ Zantac products are not unsafe for

                     regular consumer use; and

              n.     Continuing the manufacture and sale of their products with the

                     knowledge that the products are and were unreasonably unsafe and

                     dangerous.

       152.   Defendants (including Defendants DOES 1-100) knew and/or should have

known it was foreseeable consumers such as Plaintiff would suffer injuries as a result of

Defendants’ failure to exercise ordinary care in the manufacturing, marketing, labeling,

distribution, and sale of Zantac.

       153.   Plaintiff did not know the nature and extent of the injuries that could result

from the intended use of and/or exposure to Zantac.

       154.   Defendants’ (including Defendants DOES 1-100) negligence was the

proximate cause of Plaintiff’s injuries, i.e., absent Defendants’ negligence, Plaintiff would

not have developed cancer.

       155.   Defendants’ (including Defendants DOES 1-100) conduct, as described

above, was reckless. Defendants regularly risked the lives of consumers and users of

their products, including Plaintiff, with full knowledge of the dangers of their products.

Defendants have made conscious decisions not to redesign, re-label, warn, or inform the

unsuspecting public, including Plaintiff.      Defendants’ reckless conduct        therefore

warrants an award of punitive damages.

       156.   As a direct and proximate result of Defendants (including Defendants
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 40 of 47 PageID: 40



DOES 1-100) placing defective Zantac products into the stream of commerce, Plaintiff

was injured and sustained pecuniary loss and general damages in a sum exceeding the

jurisdictional minimum of this Court.

       157.   As a proximate result of Defendants (including Defendants DOES 1-100)

placing defective Zantac products into the stream of commerce, as alleged herein, there

was a measurable and significant interval of time during which Plaintiff suffered great

mental anguish and other personal injury and damages.

       158.   WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

against Defendants (including Defendants DOES 1-100) for compensatory and punitive

damages, together with interest, costs herein incurred, attorneys’ fees and all such other

and further relief as this Court deems just and proper.

                 COUNT IV: BREACH OF EXPRESS WARRANTIES

       159.   Plaintiff incorporates by reference each allegation set forth in preceding

paragraphs as if fully stated herein.

       160.   At all relevant times, Defendants (including Defendants DOES 1-100)

engaged in the business of testing, developing, designing, manufacturing, marketing,

selling, distributing, and promoting Zantac products,         which are defective and

unreasonably dangerous to consumers, including Plaintiff, thereby         placing Zantac

products into the stream of commerce in this judicial proceeding. These actions were

under the ultimate control and supervision of Defendants.

       161.   Defendants (including Defendants DOES 1-100) had a duty to exercise

reasonable care in the research, development, design, testing, packaging, manufacture,

inspection, labeling, distributing, marketing, promotion,    sale, and release of Zantac

products, including a duty to:
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 41 of 47 PageID: 41



              a.      ensure its products did not cause the user unreasonably dangerous

                      side effects;

              b.      warn of dangerous and potentially fatal side effects; and

              c.      disclose adverse material facts, such as the true risks associated with

                      the use of and exposure to Zantac, when making representations to

                      consumers and the general public, including Plaintiff.

       162.   As alleged throughout this pleading, the ability of Defendants to properly

disclose those risks associated with Zantac is not limited to representations made on the

labeling.

       163.   At all relevant times, Defendants (including Defendants DOES 1-100)

expressly represented and warranted to the purchasers of its products, by and through

statements made by Defendants in labels, publications, package inserts, and other written

materials intended for consumers and the general public, that Zantac products were safe

to human health and the environment, effective, fit, and proper for their intended use.

Defendants advertised, labeled, marketed, and promoted Zantac products, representing

the quality to consumers and the public in such a way as to induce their purchase or use,

thereby making an express warranty that Zantac products would conform to the

representations.

       164.   These    express    representations   include   incomplete    warnings    and

instructions that purport, but fail, to include the complete array of risks associated with

use of and/or exposure to Zantac. Defendants (including Defendants DOES 1-100) knew

and/or should have known that the risks expressly included in Zantac warnings and

labels did not and do not accurately or adequately set forth the risks of developing the

serious injuries complained of herein. Nevertheless, Defendants expressly represented
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 42 of 47 PageID: 42



that Zantac products were safe and effective, that they were safe and effective for use by

individuals such as Plaintiff, and/or that they were safe and effective as consumer

medication.

      165.    The representations about Zantac, as set forth herein, contained and/or

constituted affirmations of fact or promises made by the seller to the buyer, which related

to the goods and became part of the basis of the bargain, creating an express warranty

that the goods would conform to the representations.

      166.    Defendants (including Defendants DOES 1-100) placed Zantac products

into the stream of commerce for sale and recommended their use to consumers and the

public without adequately warning of the true risks of developing the injuries associated

with the use of Zantac.

      167.    Defendants (including Defendants DOES 1-100) breached the warranties

referenced herein, addressed herein because, among other things, Zantac products were

defective, dangerous, and unfit for use, did not contain labels representing the true and

adequate nature of the risks associated with their use, and were not merchantable or safe

for their intended, ordinary, and foreseeable use and purpose. Specifically, Defendants

breached the warranties in the following ways:

              a.    Defendants represented through its labeling, advertising, and

                    marketing materials       that Zantac products were safe, and

                    intentionally withheld and concealed information about the risks of

                    serious injury associated with use of Zantac and by expressly

                    limiting the risks associated with use within its warnings and labels;

                    and

              b.    Defendants represented that Zantac products were safe for use and
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 43 of 47 PageID: 43



                    intentionally concealed information that demonstrated that Zantac,

                    by transforming into        NDMA upon human ingestion, had

                    carcinogenic properties, and that Zantac products, therefore, were

                    not safer than alternatives available on the market.

      168.   Plaintiff detrimentally relied on the express warranties and representations

of Defendants concerning the safety and/or risk profile of Zantac in deciding to purchase

the product. Plaintiff reasonably relied upon Defendants to disclose known defects, risks,

dangers, and side effects of Zantac. Plaintiff would not have purchased or used Zantac

had Defendants properly disclosed the risks associated with the product, either through

advertising, labeling, or any other form of disclosure.

      169.   Defendants (including Defendants DOES 1-100) had sole access to material

facts concerning the nature of the risks associated with its Zantac products, as expressly

stated within their warnings and labels, and knew consumers and users such as Plaintiff

could not have reasonably discovered the risks expressly included in Zantac warnings

and labels were inadequate and inaccurate.

      170.   Plaintiff had no knowledge of the falsity or incompleteness of Defendants’

statements and representations concerning Zantac.

      171.   Plaintiff used and/or was exposed to Zantac as researched, developed,

designed, tested, manufactured, inspected, labeled, distributed, packaged, marketed,

promoted, sold, or otherwise released into the stream of commerce by Defendants.

      172.   Had the warnings, labels, advertisements, and/or promotional material for

Zantac products accurately and adequately set forth the true risks associated with the

use of such products, including Plaintiff’s injuries, rather than expressly excluding such

information and warranting that the products were safe for their intended use, Plaintiff
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 44 of 47 PageID: 44



could or would have avoided the injuries complained of herein.

       173.   As a direct and proximate result of Defendants’ (including Defendants

DOES 1-100) breach of express warranty, Plaintiff has sustained pecuniary loss and

general damages in a sum exceeding the jurisdictional minimum of this Court.

       174.   As a proximate result of Defendants’ (including Defendants DOES 1-100)

breach of express warranty, as alleged herein, there was a measurable and significant

interval of time during which Plaintiff suffered great mental anguish and other personal

injury and damages.

       175.   WHEREFORE, Plaintiff respectfully requests this Court to enter judgment

against Defendants (including Defendants DOES 1-100) for compensatory and punitive

damages, together with interest, costs herein incurred, attorneys’ fees, and all such other

and further relief as this Court deems just and proper.

                  COUNT V: BREACH OF IMPLIED WARRANTIES

       176.   Plaintiff incorporates by reference every allegation set forth in preceding

paragraphs as if fully stated herein.

       177.   At all relevant times, Defendants (including Defendants DOES 1-100)

engaged in the business of testing, developing, designing, manufacturing, marketing,

selling, distributing, and promoting Zantac products, which were and are defective and

unreasonably dangerous to consumers, including Plaintiff, thereby placing Zantac

products into the stream of commerce in this judicial district.

       178.   Before the time Plaintiff used Zantac products, Defendants impliedly

warranted to     its consumers, including Plaintiff, that Zantac products were of

merchantable quality and safe       and fit for the use for which they were intended;

specifically, as consumer medication.
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 45 of 47 PageID: 45



       179.   But Defendants (including Defendants DOES 1-100) failed to disclose that

Zantac has dangerous propensities when used as intended and that use of Zantac

products carries an increased risk of developing severe injuries, including Plaintiff’s

injuries.

       180.   Plaintiff was an intended beneficiary of the implied warranties made by

Defendants to purchasers of its Zantac products.

       181.   The Zantac products were expected to reach and did in fact reach consumers

and users, including Plaintiff, without substantial change in the condition in which they

were manufactured and sold by Defendants (including Defendants DOES 1-100).

       182.   At all relevant times, Defendants (including Defendants DOES 1-100) were

aware that consumers and users of its products, including Plaintiff, would use Zantac

products as marketed by Defendants, which is to say that Plaintiff was a foreseeable user

of Zantac.

       183.   Defendants (including Defendants DOES 1-100)        intended that Zantac

products be used in the manner in which Plaintiff, in fact, used them and which

Defendants impliedly warranted to be of merchantable quality, safe, and fit for this use,

even though Zantac was not adequately tested or researched.

       184.   In reliance upon Defendants’ (including Defendants DOES 1-100) implied

warranty, Plaintiff used Zantac as instructed and labeled and in the foreseeable manner

intended, recommended, promoted, and marketed by Defendants.

       185.   Plaintiff could not have reasonably discovered or known of the risks of

serious injury associated with Zantac.

       186.   Defendants (including Defendants DOES 1-100) breached their implied

warranty to Plaintiff in that Zantac products were not of merchantable quality, safe, or
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 46 of 47 PageID: 46



fit for their intended use, or adequately tested. Zantac has dangerous propensities when

used as intended and can cause serious injuries, including those injuries complained of

herein.

      187.   The harm caused by Defendants’ (including Defendants DOES 1-100)

Zantac products far outweighed their benefit, rendering the products more dangerous

than an ordinary consumer or user would expect and more dangerous than alternative

products.

      188.   As a direct and proximate result of Defendants’ (including Defendants

DOES 1-100) breach of implied warranty, Plaintiff has sustained pecuniary loss and

general damages in a sum exceeding the jurisdictional minimum of this Court.

      189.   As a proximate result of the Defendants’ (including Defendants DOES 1-

100) breach of implied warranty, as alleged         herein, there was a measurable and

significant interval of time during which Plaintiff suffered great mental anguish and

other personal injury and damages.

      190.   WHEREFORE, Plaintiff respectfully requests this Court to enter judgment

against Defendants (including Defendants DOES 1-100) for compensatory and punitive

damages, together with interest, costs herein incurred, attorneys’ fees and all such other

and further relief as this Court deems just and proper.

                                JURY TRIAL DEMAND

      191.   Plaintiff demands a trial by jury on all the triable issues within this pleading.

                                 PRAYER FOR RELIEF

      192.   WHEREFORE, Plaintiff requests that the Court enter judgment in Plaintiff’s

favor and against the Defendants for:

             a.     actual and/or compensatory damages in such amount to be
Case 3:20-cv-01389-FLW-LHG Document 1 Filed 02/10/20 Page 47 of 47 PageID: 47



                  determined at trial and as provided by applicable law;

            b.    exemplary and punitive damages sufficient to punish and deter the

                  Defendants and others from future wrongful practices;

            c.    pre-judgment and post-judgment interest;

            d.    costs including reasonable attorneys’ fees, court costs, and other

                  litigation expenses; and

            e.    any other relief the Court may deem just and proper.

DATED: February 10, 2020                      Respectfully submitted,


                                       _/S/ PAIGE BOLDT_______________
                                       Paige Boldt
                                       New Jersey State Bar No. 52242013
                                       Mikal C. Watts
                                       (Pro hac anticipated)
                                       Alicia D. O’Neill
                                       (Pro hac anticipated)
                                       WATTS GUERRA LLP
                                       5726 W. Hausman Rd., Ste. 119
                                       San Antonio, Texas 78249
                                       Direct: (210) 447-0500
                                       Facsimile: (210) 447-0501
                                       pboldt@wattsguerra.com
                                       mcwatts@wattsguerra.com
                                       aoneill@wattsguerra.com

                                       ATTORNEYS FOR PLAINTIFF
